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                                             Filed: September 19, 2008

                  UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT
                   1100 East Main Street, Suite 501
                    Richmond, Virginia 23219-3517
                         www.ca4.uscourts.gov

                  _______________________________

                  TRANSCRIPT ORDER ACKNOWLEDGMENT
                  _______________________________

No. 07-4115, US v. LaVon Dobie
             8:04-cr-00235-RWT

This Acknowledgment establishes a deadline for filing all
transcript ordered from this court reporter, as follows:

Court Reporter: Gloria Williams
Current Deadline: 10/27/2008
Proceedings: trial testimony - 6/22/06, 8/1/06, 8/29/06

If transcript has not been properly ordered or if appropriate
financial arrangements have not been made, the court reporter
must complete and file a Transcript Order Deficiency Notice with
this Court within 7 calendar days. If the court reporter has
grounds for an extension of time, a request for extension may be
sought using the Transcript Extension Request form.

This Court is notified of the filing of the Appeal Transcript in
the District Court through the District Court=s CM/ECF system. If
the transcript is not filed by the due date, a transcript
sanction takes effect, as provided in the Guidelines for
Preparation of Appellate Transcripts in the Fourth Circuit. If a
transcript sanction is in effect, the court reporter must file a
Transcript Sanction Certification Form with this Court at the
time the transcript is filed with the District Court, certifying
that the appropriate sanction has been deducted from the
transcript fee.

Court forms are available for completion as links from this
notice and at the Court's web site, www.ca4.uscourts.gov.

Sharon A. Wiley
Deputy Clerk
804-916-2704
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                     UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT

                       TRANSCRIPT DEFICIENCY NOTICE

               No. 07-4115, US v. LaVon Dobie
                            8:04-cr-00235-RWT

If there are problems with the Transcript Order or if the Court
has not yet approved preparation of transcript at government
expense, the Court Reporter should, within 7 days of receipt of
the Transcript Order Acknowledgment from the Court of Appeals,
file the Deficiency Notice form with the Court of Appeals and
serve a copy on the party ordering the transcript and the
District Court Reporter Coordinator.

Court Reporter: Gloria Williams
Current Deadline: 10/27/2008
Extension Requested to:

[ ]   Transcript Order is sufficient, but Criminal Justice Act
      funds have not been approved (CJA 24)

[ ] Transcript Order is sufficient, but motion for transcript
at government expense has not been granted (28 U.S.C. § 753(f))

[ ]   Satisfactory financial arrangements have not been made.
      Please specify problem:

[ ]   Transcript order is unclear. Please specify problem:

[ ]     Transcript order has not been received (CJA 24)

[ ]   Transcript order was received after receipt of
      Acknowledgment. Please specify length of delay:

[ ]     Other (please specify):

Signature:

Date:
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                  UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT

                    TRANSCRIPT EXTENSION REQUEST

            No. 07-4115, US v. LaVon Dobie
                         8:04-cr-00235-RWT

If an extension of time is needed to complete the transcript,
the court reporter may file a Transcript Extension Request with
the Court of Appeals at least 10 days in advance of the
deadline, setting forth specific information in support of the
request. Copies of the Request shall be served on the parties
to the case and the District Court Reporter Coordinator. The
granting of an extension also constitutes a waiver of sanctions
through the date of the extension.

Court Reporter: Gloria Williams
Current Deadline: 10/27/2008
Extension Requested to:

As of this date, approximately      pages have been completed
and      pages are yet to be transcribed. Justification is as
follows:

  1. Outstanding District Court transcripts ordered within 90
     days of this request: Any pending appellate transcripts
     will be taken into consideration in deciding this request.




  2. In-Court Time: (give total days/hours by month)




  3. Travel: (give hours spent traveling to and from Court by
     month)




  4. Other: (please provide any other information you would like
     the Court to consider when reviewing your request. Please
     be aware that this information will be posted on the public
     docket.)
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Signature:

Date:
